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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 IN RE PAYMENT CARD INTERCHANGE FEE                                     OPINION AND
 AND MERCHANT DISCOUNT ANTITRUST                                        ORDER
 LITIGATION
                                                                        05-MD-1720
 This document refers to: ALL ACTIONS                                   (Brodie, J.)
                                                                        (Marutollo, M.J.)

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 JOSEPH A. MARUTOLLO, United States Magistrate Judge:

         On May 24, 2024, Rule 23(b)(3) Class Counsel (Class Counsel) informed the Court that

 “the law firm Milberg Coleman Bryson Phillips Grossman, LLC (Milberg) has been registering

 clients with [Class Administrator Epiq Systems, Inc. (Epiq)] for third-party-filing services for

 certain companies which came from a referral partner [] that Milberg has subsequently

 acknowledged are fraudulent.” Dkt. No. 9306. Following additional litigation and orders from

 the Court, on July 12, 2024, Class Counsel filed a joint stipulation between Class Counsel and

 Milberg (the Stipulation) regarding cost payments to Epiq. See Dkt. No. 9353. As part of the

 Stipulation, “Milberg has agreed to pay $25,000 to [] Epiq, to cover Epiq’s costs incurred in

 handling fake proofs of authority submitted by Milberg and to cooperate fully in any law

 enforcement investigation related [to] Ms. Laverne Hallak.” Id.

         For the reasons stated below, and in light of the Stipulation, the Court declines to sanction

 Milberg at this time. Milberg, however, shall file a status report by July 26, 2024 regarding any

 pending claims submitted to Epiq. The Court reserves the right to issue sanctions should it be

 deemed necessary following further investigation.

 I.      Pertinent Background

         A putative class of over twelve million nationwide merchants brought this antitrust action

 under the Sherman Act, 15 U.S.C. §§ 1 and 2, and state antitrust laws, against Visa U.S.A. Inc.,
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 MasterCard International Inc., and numerous banks that serve as payment-card issuers for those

 networks. Plaintiffs alleged that Visa and MasterCard adopted and enforced rules and practices

 relating to payment cards that had the combined effect of injuring merchants by allowing Visa and

 MasterCard to charge supercompetitive fees (known as “interchange fees”) on each payment card

 transaction. Following extensive litigation, a settlement of $5.6 billion was approved by the United

 States District Court for the Eastern District of New York. See, e.g., Fikes Wholesale, Inc. v.

 HSBC Bank USA, N.A., 62 F.4th 704, 712 (2d Cir. 2023).

        On September 25, 2018, Class Counsel informed the Court that it had “received a number

 of calls from various third-parties seeking guidance regarding the appropriate language to use in

 solicitations and marketing materials.” Dkt. No. 7259. Class Counsel requested that the Court

 enter an order to help ensure that merchants receive accurate information. See id.

        On September 26, 2018, the Court entered an order in response to Class Counsel’s request.

 See Dkt. No. 7260. The Court noted that, “since 2012, the Court has determined that certain

 solicitations of class members regarding third-party claims filing services have been misleading,”

 and that “the Court has expressed concern about additional instances of class member confusion.”

 Id. The Court recognized that, in light of the anticipated settlement agreement, “various third-

 party entities [will] seek new business relationships based on the proposed settlement.” Id. The

 Court thereby ordered that:

        All third-party claims filing companies wishing to represent merchants are required
        to include in any solicitation to prospective clients the following to ensure that any
        solicitation is truthful and accurate []:

        1.       A statement that claim forms are not yet available.

        2.      A statement making clear that class members need not sign up for a third-
        party service in order to participate in any monetary relief and explaining that no-
        cost assistance will be available from the Class Administrator and Class Counsel
        during the claims-filing period.

        3.      [D]irecting class members to the Court-approved website for additional
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        information.

 Id. Further, the Court ordered that:

        1.     The proposed relief outlined above must be included in any solicitation, in
        any form including websites, mail and email solicitations, contracts, telephone and
        in-person solicitations;

        2.     Solicitations that do not contain the required information (as set forth
        above), may be deemed misleading and following notice and an opportunity to cure,
        those entities may be enjoined permanently from taking any role in the settlement;
        and

        3.      Class Counsel is ordered to alert all known third-party claims filing entities
        of the requirements within five days of entry of this Order.

 Id.
        The litigation continued for several years. At the September 7, 2023 Status Conference,

 the Court requested that Class Counsel provide monthly reports to the Court regarding issues

 relating to third-party claim filers. These reports are to provide general information regarding

 third-party issues and, to the extent relevant, information regarding any entity-specific matters.

        On October 5, 2023, Class Counsel filed a status report in which it stated, inter alia, that

 “[f]or the past several years, formally since November 2019, Class Counsel has tasked Epiq

 Systems, Inc. [“Epiq”] with providing monthly reporting regarding class member concerns or

 complaints regarding third-party claims-filing entities as well as claim-buying entities.” See Dkt.

 No. 8982. Class Counsel noted that it addresses these concerns or complaints informally and

 without court intervention wherever possible. See id. Class Counsel noted that “Epiq continues

 to alert Class Counsel to new issues as they arise in addition to the monthly reporting process

 already in place.” Id.

        On May 24, 2024, as part of its monthly status reports to the Court, Class Counsel informed

 the Court that Milberg “has been registering clients with Epiq for third-party-filing services for

 certain companies which came from a referral partner [] that Milberg has subsequently

 acknowledged are fraudulent.” Dkt. No. 9306 at 1. Class Counsel explained that the issue
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 “surfaced when another entity informed Class Counsel [the week of May 24, 2024] that in several

 instances where a conflict notice has issued, Milberg agreed to withdraw their purported contract,

 acknowledging that the contracts were fraudulent.” Id. Class Counsel “reviewed several of these

 purported contracts and on their face[,] it appears that even a cursory review by Milberg upon

 receipt from the referral partner would have revealed they are not legitimate.” Id. at 2. Class

 Counsel were “informed of 30 instances where [] the proof of authorization document was

 withdrawn, either because of a conflict or for unknown reasons that all came from the same referral

 partner.” Dkt. No. 9306 at 3. Class Counsel promptly raised its concerns with Milberg and sought

 Court intervention to ensure timely responses. See id. at 2-4.

        In the same May 24, 2024 status report, Milberg stated that it took Class Counsel’s

 allegations “very seriously” and recognized that it is “fully aware of its obligations regarding the

 submission of claims in this matter.” Id. at 3. Milberg stated that it has “withdrawn all improper

 claims and [Milberg is] undertaking an audit of every claim submitted to this Court.” Id. at 3-4.

 Specifically, Milberg “has voluntarily agreed to undertake an audit of every single claim it has

 submitted to date to verify for accuracy. This process includes contacting every merchant to verify

 they still want Milberg to handle their claim. To the extent a merchant declines, Milberg will

 withdraw from handling that merchant’s claim.” Id. Milberg added that it is not submitting any

 further claims in connection with this action and will continue to cooperate with Class Counsel

 should any further issues arise.” Id. at 6-7. Milberg also identified the problematic referring entity

 as Ms. Laverne Hallak of San Diego, California.

        On May 26, 2024, the Court ordered, inter alia, Class Counsel to file a status report by July

 6, 2024 regarding the allegedly false documents filed with Epiq. See Text Order, dated May 26,

 2024. The Court ordered Class Counsel to include a response from Milberg as to the status of the

 above-described process. See id.

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        On June 6, 2024, Class Counsel and Milberg filed a joint status report. See Dkt. No. 9318.

 Milberg stated that it has withdrawn all claims submitted through the referral source that

 purportedly submitted fraudulent claims to Milberg. See Dkt. No. 9318 at 4-6. Milberg explained

 that since May 24, 2024, “Milberg has withdrawn its registration of authorities to represent 116

 entities that were submitted to Epiq”; “[e]ach of these 116 entities was submitted to Milberg by

 the same problematic third-party referral source.” Id. at 5 (“To be clear, Milberg did not submit

 claims on behalf of any of these 116 entities. Rather, Milberg registered its representation of these

 entities via the platform and protocols implemented by Class Counsel and the Court so that Epiq

 could review and vet them as intended. Following the registration of these 116 entities is when

 the fraud was first detected.”). Additionally, Milberg stated that it has “audited each claim

 submitted to Epiq, regardless of source, to verify the accuracy of the same.” Id.

        On June 7, 2024, the Court issued an order requiring further briefing. See Text Order,

 dated June 7, 2024. In that order, the Court noted that “[w]hile Milberg states that it has ‘ceased

 advertising for clients in connection with this matter as of April 1, 2024, and has not retained any

 new clients since that date from any source” (Dkt. No. 9318 at 6), a number of questions remain

 regarding the claims that Milberg has already submitted to Epiq, including for clients in which

 Milberg is ‘working to secure signatures that are missing from the retainer agreements,’ as well as

 the ‘782 merchant clients with conflicted claims’ (Dkt. No. 9318 at 7).” Id. The Court ordered

 Milberg to file “by June 17, 2024, a letter providing a more detailed overview of their claims

 review process, including updates on all claims submitted to Epiq.            Milberg shall attach

 declarations or affidavits where appropriate.”

        The Court also ordered Milberg to address, with citations to applicable law, “whether, as

 Class Counsel suggests, Milberg should be ordered to ‘reimburse Epiq for the time spent related

 to these fake submissions, which has come at the expense of the class.’” Id. (citing Dkt. No. 9318

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 at 5). Additionally, the Court ordered Milberg to address whether a referral should be made to the

 Department of Justice regarding [Ms.] Hallak, the referring source at issue.” Id. (citing Dkt. No.

 9306 at 6; Dkt. No. 9318 at 5). The Court ordered Class Counsel respond to Milberg’s letter by

 June 24, 2024.

        On June 17, 2024, Milberg filed its response to the Court’s June 7, 2024 order. See Dkt.

 No. 9328-1. In its response, Milberg provided (1) a more detailed overview of its claims review

 process, including updates on all claims submitted to Epiq; (2) its position on whether, as Class

 Counsel suggests, Milberg should be ordered to reimburse Epiq for the time spent related to

 fraudulent submissions; and (3) its position on whether a referral should be made to the Department

 of Justice regarding Ms. Hallak. See Dkt. No. 9328-1 at 1. In connection with its detailed overview

 of its claims review process, Milberg filed a declaration from its Vice President of Global

 Operations, Austin Camp, who explained, in detail, “Milberg’s process for claimant onboarding

 and review for the Payment Card Interchange.” See id. Milberg also explained that

        Milberg still has not formally filed a single claim for compensation for any of its
        merchant clients. [As of June 17, 2024], it has only registered merchant clients and
        their Authority to Represent documents for initial review and approval via the
        procedure set forth by the claims administrator. To this day, Epiq has a record of
        5,064 claimants for whom Milberg submitted an Authority to Represent document
        for review. 2,527 of those claimants have since been withdrawn for conflict
        resolutions, false applications, deficient or uncured claims, little or no interchange
        fee data found and with no response from the claimants to cure or resolve. 26
        claimants were found to be excluded parties. There are 27 remaining claimants
        with the status of “Deficient” due to the provision of illegible signatures from the
        merchant clients. Milberg is in the process of attempting to cure these deficiencies
        by engaging with these 27 clients via email and phone calls. Those who do not
        respond will also be withdrawn. In the status of “Conflict,” Milberg has 935
        claimants that it is still attempting to resolve. Finally, there are 1,549 “Approved”
        claims. Milberg will soon be withdrawing an additional 430 of these approved
        claims due to unresponsive clients failing to reaffirm their intent to have Milberg
        continue representing them.

 Dkt. No. 9328-1 at 5 (internal citations omitted). Milberg argued that “[w]hile Milberg could have

 done a better job of screening the would-be clients’ information—and will do so in the future—

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 such mistakes do not amount to bad faith” sufficient to warrant sanctions.” Id. at 6. Milberg added

 that “[g]iven the severity of Ms. Hallak’s actions in connection with the submission of fraudulent

 claimant information to Milberg and the toll it has taken on Class Counsel, the claims

 administrator, the Court, and the reputation of Milberg in the eyes of all of the above, Milberg

 supports any action the Court wishes to take in connection with the referral of Ms. Hallak to the

 Department of Justice.” Id. at 7-8.

         On June 24, 2024, Class Counsel filed its response to the Court’s June 7, 2024 order. See

 Dkt. No. 9332. Class Counsel took issue with Milberg appearing “to blame, in part, Epiq’s

 processes and systems for Milberg’s fraudulent submissions.” Id. at 1. In its response, Class

 Counsel noted that it requested that Epiq provide an estimate regarding the time spent dealing with

 this issue; Epiq estimates that about $25,000 in costs have been incurred to date. See id. at 4.

 Class Counsel argued that “Milberg’s actions imposed costs on the Class by causing Epiq to spend

 time inputting, reviewing, and seeking to untangle the fake submissions.” Id. at 1. Class Counsel

 also agreed that a referral to the Department of Justice regarding Ms. Hallak “appears appropriate.”

 Id. at 7.

         On June 28, 2024, the Court issued an order scheduling a conference for July 22, 2024 to

 discuss the above issues. The Court also set a further briefing schedule.

         On July 10, 2024, Class Counsel filed a letter with the Court setting forth case law on the

 Court’s authority to assess costs against a non-party. See Dkt. No. 9348. Class Counsel argued

 that the Court possesses the authority to sanction Milberg “for its conduct relating to the

 submission of more than 115 fake proofs of authority to Epiq.” Id. at 1. Class Counsel noted that

 this Court “previously noted in relation to third-party claims filers, ‘a district court retains

 exclusive jurisdiction over settlement agreements and distribution of settlement funds pursuant to

 those agreements, it may issue orders necessary to protect the settlement from threats by both

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 parties and non-parties.’” Id. at 2 (citing In re Visa Check/Mastermoney Antitrust Litig., No. 96-

 CV-5238 (JG), 2006 WL 1025588, at *1 (E.D.N.Y. Mar. 31, 2006) and Dkt. No. 6349 at 55

 (granting injunction as to third-party claims filer)). Class Counsel argued that “[i]n this case, the

 Court may assess the reasonable costs incurred by Epiq stemming from Milberg’s conduct related

 to the submissions – the settlement agreement is a specific Court order,” as “[t]his would protect

 the settlement as the costs incurred would otherwise come from the settlement fund.” Dkt. No.

 9348 at 2.

        On July 12, 2024, Class Counsel filed the Stipulation regarding cost payments to Epiq. See

 Dkt. No. 9353. As set forth in the Stipulation, Class Counsel and Milberg agree and stipulate to

 the following:

        1.     Milberg has agreed to pay to Epiq $25,000, the total estimated costs
        incurred by Epiq in handling fake proofs of authority submitted to Epiq by Milberg.
        This payment shall be made to Epiq within 10 business days.

        2.      Milberg agrees that a referral to law enforcement is to occur related to Ms.
        Laverne Hallak, its previous referral partner. Class Counsel will contact the U.S.
        Attorney’s office in San Diego, the county in which Ms. Hallak is believed to
        reside. Milberg agrees to cooperate fully in any investigation that may occur.

        3.      Class Counsel and Milberg agree that, in light of the foregoing agreement,
        sanctions against the Milberg firm are no longer necessary and the July 22, 2024
        status conference is no longer necessary, but the Parties leave the decision to the
        Court’s sound discretion.

 Dkt. No. 9353 at 1-2.

 II.    Discussion

        The integrity of the claims process in this matter remains essential. Indeed, throughout this

 litigation, efforts have been made to proactively protect class members from deception. See, e.g.,

 In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., -- F. Supp. 3d. -- 2023 WL

 8642541 (E.D.N.Y. Dec. 14, 2023) (addressing a false website that sought to mirror the official,

 Court-approved settlement website); Dkt. No. 6147 (“It is clear to the Court that the overwhelming

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 majority of the members of the merchant class need protection from overreaching claims filing

 services, and [the Court] intend[s] to provide that protection proactively. Preventing confusion

 and deception before they can happen is far preferable to taking remedial measures after they

 happen.”).

           The Court agrees with Class Counsel that it has the authority to sanction Milberg. See

 Amerisource Corp. v. Rx USA Int’l Inc., No. 02-CV-2514, 2010 WL 2730748, at *5 (E.D.N.Y.

 July 6, 2010), aff’d sub nom. N.Y. Credit & Fin. Mgmt. Grp. v. Parson Ctr. Pharmacy, Inc., 432

 F. App’x 25 (2d Cir. 2011) (recognizing the Court’s “inherent power to sanction” non-party

 shareholder and chief executive for “litigation misconduct” and exercising such power). But in

 light of Milberg’s agreement to pay Epiq $25,000 for all of its costs to date, the Court finds that a

 Court-ordered sanction is unnecessary at this time. Further, as Class Counsel and/or Milberg will

 refer Ms. Hallak’s actions to the Department of Justice, the referral issue for Ms. Hallak is deemed

 moot. 1

           The Court notes, however, that Milberg concedes that there remain claimants with

 “deficient” status “due to the provision of illegible signatures from the merchant clients.” Dkt.

 No. 9328-1 at 5. While the Court recognizes that Milberg is in the process of attempting to cure

 these deficiencies along with other unresolved claims, the Court seeks additional assurance from

 Milberg that the fraudulent claims have been eliminated.

           Therefore, Milberg shall file a status report by July 26, 2024 regarding any pending claims

 submitted to Epiq. The status report shall be made part of Class Counsel’s July 26, 2024 status

 report filing. See Dkt. No. 9340 at 4. Milberg’s status report shall provide an update regarding,

 inter alia, the outstanding issues raised in Milberg’s June 17, 2024 submission, as well as any other



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  In its July 26, 2024 status report to the Court, Class Counsel shall provide an update as to when it referred
 Ms. Hallak’s actions to the United States Attorney for the Southern District of California.
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 pertinent updates. See Dkt. No. 9328-1 at 5. Milberg shall also state whether it will be submitting

 any more claims to Epiq going forward.

 III.     Conclusion

          In light of the above, the Court declines to sanction Milberg at this time. The Court

 adjourns the July 22, 2024 conference and Milberg’s corresponding July 17, 2024 deadline sine

 die. Milberg shall file a status report by July 26, 2024 regarding any pending claims submitted to

 Epiq. Class Counsel shall serve a copy of this order on Milberg by July 15, 2024.

 Dated:          Brooklyn, New York
                 July 13, 2024                        SO ORDERED.


                                                        /s/ Joseph A. Marutollo
                                                      JOSEPH A. MARUTOLLO
                                                      United States Magistrate Judge




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